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 1                                                         Judge Robert Bryan
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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT TACOMA
 9   UNITED STATES OF AMERICA,          )
                                        )                  NO. CR94-5074RJB
10                    Plaintiff,        )
                                        )
11                    v.                )                  ORDER OF FORFEITURE
                                        )                  (MONEY JUDGMENT)
12   JEFFERY JAY WARREN,                )
                                        )
13                    Defendant.        )
     __________________________________ )
14

15           WHEREAS, on January 17, 2008, the Defendant, JEFFERY JAY WARREN,
16   entered into a Plea Agreement with the United States in which the Defendant entered a
17   guilty plea to the offense charged in Count 1 of the Second Superseding Indictment
18   Information, Conspiracy to Import Hashish, in violation of Title 21, United States Code,
19   Sections 952, 960(a) 960(b)(1) and 963, and further agreed to forfeit to the United States
20   Two Million Dollars ($2,000,000.00), representing the approximate amount co-
21   conspirator Lee Rushing owed to defendant, which were the proceeds from the
22   conspiracy to import hashish, and
23           WHEREAS, Rule 32.2(c)(1) provides that “no ancillary proceeding is required to
24   the extent that the forfeiture consists of a money judgment,”
25           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
26   DECREED that the Defendant shall forfeit to the United States
27
             The sum of Two Million Dollars ($2,000,000.00),
28


     ORDER OF FORFEITURE - 1                                                        UNITED STATES ATTORNEY
                                                                                    700 STEWART STREET, SUITE 5220
     CR94-5074RJB - U.S. v. JEFFERY JAY WARREN
                                                                                   SEATTLE, WASHINGTON 98101-1271
                                                                                            (206) 553-7970
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 1   which shall be a money judgment representing the value of the proceeds from the
 2   conspiracy to import hashish owed to defendant by co-conspirator Lee Rushing,
 3   which are forfeitable pursuant to Title 21, United States Code, Section 853(a)(1).
 4           IT IS FURTHER ORDERED that the United States District Court shall retain
 5   jurisdiction in the case for the purpose of enforcing this Order;
 6           IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of
 7   Forfeiture shall become final as to the defendant as of the time of sentencing, and shall be
 8   made part of the sentence and included in the judgment;
 9           IT IS FURTHER ORDERED that the United States may, at any time, move
10   pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property having a
11   value not to exceed Two Million Dollars ($2,000,000.00) to satisfy the money judgment
12   in whole or in part; and
13           The Clerk of the Court is directed to send a copy of this Order of Forfeiture to all
14   counsel of record and three (3) “raised sealed” certified copies to the United States
15   Attorney’s Office.
16           DATED: This 29th day of July, 2009
17

18

19
                                       A
                                       ROBERT J. BRYAN
                                       United States District Judge
20
     Presented by:
21     s/Richard E. Cohen for
     MATTHEW H. THOMAS
22   Assistant United States Attorney
23
      s/Richard E. Cohen for
24   RICHARD E. COHEN
     Assistant United States Attorney
25

26     s/ by Richard E. Cohen
     MICHAEL MARTIN*
27   Attorney for Defendant
     Jeffrey Jay Warren
28   *Richard E. Cohen for Michael Martin per electronic mail authorization on July 27,
     2009.
     ORDER OF FORFEITURE - 2                                                         UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
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